Case 3:18-cr-00085-DJH Document 63-1 Filed 01/29/21 Page 1 of 1 PageID #: 603




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


UNITED STATES OF AMERICA                                                             PLAINTIFF


v.                                                  CRIMINAL ACTION NO. 3:18-CR-85-DJH


LACY BLACK                                                                        DEFENDANT

                ORDER DISMISSING INDICTMENT WITH PREJUDICE

       Upon motion of the United States of America filed herein, and for the reasons stated,

IT IS ORDERED that the Indictment charging the defendant, Lacy Black, with

violations of Title 18, United States Code, Sections 1347 and 1349, and Title 42, United States

Code, Section 1320a-7b is hereby DISMISSED WITH PREJUDICE as to this defendant.




Tendered By:


Joseph R. Ansari
Lettricea Jefferson-Webb
U.S. Attorney’s Office
717 W. Broadway
Louisville, KY 40202
Phone: 502/582-6253
Fax: 502/625-7110
